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 1 MCGREGOR W. SCOTT
   United States Attorney
 2 JUSTIN L. LEE
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700

 5 Attorneys for Plaintiff
   United States of America
 6

 7

 8                              UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                    CASE NO. 2:18-CR-00080-JAM

12                                Plaintiff,      ORDER SEALING DOCUMENTS AS SET
                                                  FORTH IN UNITED STATES’S NOTICE
13                         v.

14   GERARDO RAMIREZ,

15                                Defendant.

16

17         Pursuant to Local Rule 141(b) and based upon the representations contained in the

18 United States’s Request to Seal and the factors set forth in In Re Copley Press, Inc., 518

19 F.3d 1022, 1028 (9th Cir. 2008), IT IS HEREBY ORDERED that the three-page document

20 pertaining to defendant Gerardo Ramirez, and United States’s Request to Seal shall be
21 SEALED until further order of this Court.

22         It is further ordered that access to the sealed documents shall be limited to the

23 United States and counsel for the defendant.

24

25    Dated:     7/13/2020                          /s/ John A. Mendez
                                                THE HONORABLE JOHN A. MENDEZ
26                                              UNITED STATES DISTRICT JUDGE
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      [PROPOSED] ORDER SEALING DOCUMENTS AS       1
      SET FORTH IN UNITED STATES’S NOTICE
